Case 23-10399-nmc

Doc 1

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United States Bankruptcy Court for the:

DISTRICT OF NEVADA

Case number (i known)

Official Form 201

O Check if this an
amended filing

Voluntary Petition for Non-Individuals Filing for Bankruptcy

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06/22

If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name a

known). For more information, a separate document, instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer Identification
Number (EIN)

4. Debtor's address

5. Debtor's website (URL)

6. Type of debtor

Official Form 201

Clark

GRAND CANYON DESTINATIONS, LLC

XX-XXXXXXX

Principal place of business
business

8020 S. Rainbow Blvd., Suite 100-458

_Las Vegas, NV 89139

Number, Street, City, State & ZIP Code

County place of business

P.O. Box, Number, Street, City, State & ZIP Cod

Number, Street, City, State & ZIP Code

grandcanyondestinations.com

@ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
D Partnership (excluding LLP)

DO Other. Specify:

Voluntary Petition for Non-Individuals Fillng for Bankruptcy

nd the case number (if

Mailing address, If differant from principal place of

Location of principal assets, if different from principal

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Debtor GRAND CANYON DESTINATIONS, LLC _ Case number (i known) __

ameee

7. Describe debtor's business A. Check one:
CO Health Care Business (as defined in 11 U.S.C. § 101(27A))

C1 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CO Railroad (as defined in 11 U.S.C. § 101(44))

DO Stockbroker (as defined in 11 U.S.C. § 101(53A))

{] Commodity Broker (as defined in 11 U.S.C. § 101(6))

O Clearing Bank (as defined in 11 U.S.C. § 781(3))

B None of the above

B. Check all that apply
0 Tax-exempt entity (as described in 26 U.S.C. §501)
©) Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
C1 investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))
C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
htto:/Avww.uscourts.qov/four-digit-national-association-naics-codes.
4855

8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? Cl Chapter 7
A debtor who is a “small 0 Chapter 9

business debtor” must check gy
the first sub-box, A debtor as Chapter 11. Check alf that apply:

defined in § 1182(1) who C] The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
elects to proceed under noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
subchapter V of chapter 11 $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
(whether or not the debtor Is a operations, cash-flow statement, and federal income tax retum or if any of these documents do not
“small business debtor’) must exist, follow the procedure in 11 U.S.C. § 1116(1}(B).
check the second sub-box.

The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated

debts (exclucing debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax retum, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

CI The debtor is a shell company as defined in the Securities Exchange Act of 1934 Ruie 12b-2.

oo

1 Chapter 12
9. Were prior bankruptcy No : ~
cases filed by or against o .
the debtor within the last 8 Yes.
years?
If more than 2 cases, attach a
separate list. District _ When Case number

District When Case number __

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
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Debtor GRAND CANYON DESTINATIONS, LLG ——— Case number (if known) _ _
Name mene
40. Are any bankruptcy cases = No
pending or being filed by a

business partner or an O Yes.

affiliate of the debtor?

List all cases. If more than 1,

attach a separate list Debtor / _ Relationship _
District When _ Case number, if known

41, Why is the case filed in Check ail that apply:

this district? . , .
@ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately

preceding the date of this petition or for a longer part of such 180 days than in any other district.

(A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Doesthedebtorownor Hf No

h ssession of an . : . .

real property OF personal CO ves. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
property that needs

immediate attention? Why does the property need immediate attention? (Check all that apply.)

C1 it poses or Is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?
Cit needs to be physically securad or protected from the weather.

01 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

O Other
Where is the property?

Number, Street, City, State & ZIP Code

is the property insured?

ONo
Olyes. Insurance agency _
Contact name
Phone oo

ai Statistical and administrative information

13. Debtor's estimation of : Check one:
available funds
® Funds will be available for distribution to unsecured creditors.

CO After any administrative expenses are paid, no funds will be available to unsecured creditors.

14, Estimated number of 1-49 D 1,000-5,000 1 25,001-50,000
creditors B 50-99 C1 5001-10,000 1 50,001-100,000

C1 100-199 CI 10,001-25,000 CO More than100,000
C1 200-999

15. Estimated Assets (C7 $0 - $50,000 1 $1,000,001 - $10 million 1 $500,000,001 - $1 billion
CJ $50,001 - $100,000 [© $10,000,001 - $50 million 1 $1,000,000,001 - $10 billion
C1 $100,001 - $500,000 D $50,000,001 - $100 million 1 $10,000,000,001 - $50 billion
£1 $500,001 - $1 million CD $100,000,001 - $500 million C1 More than $50 billion

16. Estimated liabilities D $0 - $50,000 ® $1,000,001 - $10 million (1) $500,000,001 - $1 billion

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Debtor GRAND CANYON DESTINATIONS, LLC Case number (if knawa)
Name
1 $50,001 - $100,000 1 $10,000,001 - $50 million
D1 $100,001 - $500,000 (1 $60,000,001 - $100 million
0 $500,001 - $1 million [9 $100,000,004 - $500 million
Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy

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D $1,000,060,001 - $10 billion
C) $10,000,000,001 - $50 billion
DO More than $60 billion

page 4
Case 23-10399-nmc

Debtor GRAND CANYON DESTINATIONS, LLC

Name

faa Request for Relief, Declaration, and Signatures

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Case number (i known)

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3671.

17. Declaration and signature
of authorized
representative of debtor

x

et
on en eee Swe
48. Signature of attorney Xx a “

Official Form 201

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

{ have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of periury that the foregoing is true and correct.

Executed on

Al 3/a023
MM /DD/YYYY
Lo
Signature of authorized representative of debtor

Title President

Signature of attorney for debtor

Candace C. Carlyon
Printed name

Carlyon Cica Chtd.
Firm name

265 E, Warm Springs Road
Suite 107

Las Vegas, NV 89119
Number, Street, City, State & ZIP Code

Contact phone 7026854444 Email address

2666 NV
Bar number and State

Anthony Dobbs
Printed name

Date Al 3/202.3

MM/DD/YYYY

ccarlyon@carlyoncica.com

Voluntary Petition for Non-Individuals Filing for Bankruptcy

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GRAND CANYON DESTINATIONS LLC

Balance Sheet
As of November 30, 2022

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TOTAL
ASSETS
Current Assets
Bank Accounts
Blue Vine OP x6209... -29,043.34
Blue Vine OP2 x5763 -36,225.85
Blue Vine PR x6266 -2,251.47
Cash tor Deposit - 1,108.77
Emburse © 22,059.10
GCD - US BANK 5736 8,941.07
GCO PAYROLL 1324 0.58
Mercury OP x5847 91.14
PayPal 2,329.05
Tota! Bank Accounts $ -32,990.95
Other Current Assets
Deferred Interest 252.26
Prepaid Expenses 30,228.61
Total Other Current Assets $30,480.87
“TotalGurentAssets — ~~ $ -2,510.08
Fixed Assets
Accumulated Depreciation -151,011.00
Auto 152,059.76
Computer Equipment 29,400.00
Furniture and Fixtures 29,723.00
Office Equipment 21,788.00
Total Fixed Assets $81,959.76
Other Assets
NOTE RECEIVABLE - New Charters Nevada 1,789,178.00
Total Other Assets $1,789,178.00
TAL ASSE a $1,868,627.68

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GRAND CANYON DESTINATIONS LLC

: Balance Sheet
» As of November 30, 2022

TOTAL
LIABILITIES AND-EQUITY
Liabilities < | *:
Current Liabilities -”
Credit Cards . -:
CREDIT’ ‘CARDS
AMEX -92000 , 20,469.96
Navy FCU: 8197 24,630.21
US Bank Acct 2796 (CC Is 2804) 27,224.46
Total CREDIT CARDS a 72,324.53
Total Credit Cards $72,324.53
Other Current, Liabilities
LINES OF CREDIT
Business Loan-Business Finance 73,237.35
N/P - Kabbage 5,609.91
Total LINES OF CREDIT 78,847.26
Payroll Liabilitiés -54.04
Federal Taxes (941/943/044) 7,728.54
Federal Taxes (941/944) 96,602.81
‘Federal Unemployment (940) 1,905.38
NV Unemployment Tax _ Tax -1,846.71
~~ ‘Total Payroll Labiities — ” - 104,330.98
Total Other Current Liabilities $189,178.24
~~ Total Current t Liabilitios ~ $255,502.77
Lorig-Termi Liabilities
LEGAL LIABILITIES
DEMAND - PEOPLE'S CAPITAL & LEASING 336,924.67
JUDGEMENT < 1ST SOURCE BANK 758,241.62
Np - Y. Taig /Y-Travel _ 30,228.61
Tot al LEGAL LIABILITIES ~~ — "4 125,994.90.
LOANS - “ YEHICLE
N/P - MBFS 80,501.32
N/P - MBFS (Gass) 44,917.25
Total LOANS -\ - VEHICLE 125,418.57
LOANS - WORKING CAPITAL
Ne - Live Oak: Bank (PPP Loan 2) 104,467.26
Nie - Livg:Gaky Bank (PPP Loan) 30,739.08
N/P.-SBA(EIDL)- 2,000,000.00
~ Tot LON 1S “WORKING CAPITAL "2.495 206.84
Total Conger Liabilities $3,386,019.81
Total “ai sf $3,641,522.58
Cash Basis Monday, December 12, 2022 12:08 PM GMT-08:00 2/3
Case 23-10399-nmc Doci1 Entered 02/03/23 14:22:19 Page 8 of 25
. GRAND CANYON DESTINATIONS LLC
Balance Sheet
As of November 30, 2022

TOTAL

Equity <=: ..
Members; Equity ~413,492.46
Paid-in capital; 207,511.02
__Netincome _ _ . ___ 1,586,913.46_
Total Equity’. 9 22. $ -1,772,894.90
TOTAL LIABILITIES AND EQUITY $1,868,627.68

Cash Basis Monday, December 12, 2022 12:08 PM GMT-08:00

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GRAND CANYON DESTINATIONS LLC

Profit and Loss
January - November, 2022

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TOTAL
Income
Management Income 526,263.46
Refund -14,982.99
Revenuas - Tours 2,853,564.34
“Total I Income $3,364,844.81
Cost of Goods Sold
Charter Services 1,375,456.98
Tour Expenses §2,197.82
Total Charter Services 1,427,654.80
Entrance fees 859,461.77
Meals . 711,344.68
Other Costs of Services - COS
Adventure Phato 31.47
Total Other Costs of Services - COS 31.47
Step on Guides ee 73,176.14
Total Cost of Goods Sold $3,071 ,668.84
“GROSS PROFIT $298,175.97
Expenses
Ageaunting feas 20,800.00
Advertising and Promotions 164,201.30
AutoAthens - Auto tires 47,65
Bank fous 1,884.43
Computer Services 5,561.00
Cérieletge Commission 6,033.55
Cétisulting 219.17
Cést'ét Labor 4,719.62
Ciédit card processing fees 30,951.84
Dtivers'Commission 200.00
Drivers‘Supplies - 288.80
Disés & Subscriptions 174,00
Entertainment and Meals 719.93
Equipment Lease’: 1,097.82
FUe¥BER/ON 287.65
Hiring { fees . 26,018.16
insur ne 8 Health - 22,529.59
Insurance - Workers Comp 3,480.00
494.64
5,420.60
2,910.00

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GRAND CANYON DESTINATIONS LLC

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Profit and Loss
January - November, 2022

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— TOTAL
Oltice Supplies 7,291.61
Office/General / Administrative Expenses 1,194.03

Virtual Assistant eee

"Total Offic Office/General Administrative Expenses 66,568.43
Parking Do -1,726,00
Payroll Expenses

Shareholder Salary 32,000.00
Taxes 23,665.45
Wages . _ 295,558.71
Total Payroll | Expenses "291,224.16
Payroll taxes 4,207.90
Postage . |: 1,282.81
Professional fees
Legalfees: 56,640.00
Total Professional foes 56,640.00
Reimbursements . 2,539.38
Rent - Office. 20,416.17
Rent - Storage 936.00
Repair & Mainténance 1,447.12
Security © 305.79
Taxes and licenses 2,806.00
Telephone i :: 9,292.56
Coll Phones .: 2,599.17
Total Telephone . 11,891.73
Uriapplied Cash Bil Payment Expense 1,729.25
Uniforms 831.80"
Utilities ~~ = 1,706.90
Website expiinees 3,783.53
Yard Rent 1: 1,390.00
Total: Expenses $770,330.33
“NET F OPERATING INCOME — — — $ 477,164.36
OthéF Income *
Interest Income 446.05
Rebate Income 8,170.36
Total Other income $8,616.41
other Expenses -
Adverse ‘Judgement 1,095,166.29
Do lation 115.00
438.00
Cash Basis Monday, December 12, 2022 12:18 PM GMT-08:00 213

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GRAND CANYON DESTINATIONS LLC

Profit and Loss
January - November, 2022

TOTAL

interest Expense: .

Interest Expense-Business Loan 2,656.22
“Total interest Expense 2,656.22
TolOherEpensss = ——s——C 8,088,875.
“NET. OTHER:INGOME” $ -1,089,759.10

“NETINCOME. § -1,508,018.48

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rom 1120 U.S. Corporation Income Tax Return OMB No, 1545-0123
For calendar year 2021 or tax year beginni 2021, ending +20

OD of tha Ti a =

(eae wal Rewairu Sendo _ » Go to www./rs:gov/Form1120 for instructlons and the latest Information, 2021

A Check if: Name B Employer Identification number

da ‘Consolidated retum oO

{attach Form 851) + - Grand Canyon Dastinations LLC

B.Life/nontite consoll- oO

‘Yetedrelum + + + TYPE Number, street, and room or sulle no. if a P.O. box, sea instructions.

4082

ic Date incorporated

2 spore bg. oO oan 03-12-2015
3 Bersonal service comp. g . 8020 S Rainbow Blvd Ste 100-458 D Total assets (see Instructions)
(gee Instructions) City or town, stata or province, country and ZIP or foreign postal code :
4 #Sohodule M$ attached oO Las Vecas “aw a9139 . 417,793
E chock (1) [_) inital rum 2) [| Final retum 3) [] Name change 4) (] Address change
fa Grossreceiptsorsales. . 2.6 Fc ee ee ee ee ee 1a 1,583,598
b Retumsandallowances ......... e eUH > FUE 6 et Bie ee tb 10,237
c Balance, Subiractline ibframline 1a... . ee ee ee et Sw ne ever re ees 1c 1,573,361
2  Costof goods sold (attach Form 1125-A) 2. we ce ee te ew eee FL 2 1,159,444
3 Gross profit. Subtract line 2 fromfing ic. 2. 6 ee ee ee + .sM smh. s me Mi .. §.5-.r - 3 413,917
. 4 Dividends and inclusions (Schedule G, line23)....... Mes BGs eee + + Be ek mss ee 4
f § Intrest 2... ee eh ee ve ee eee ee he eee et eee . 5
6 GrossrenB 2... ee ee ew ew ee tte ee eee ee eee ot Bee vane 6
7 Grossroyalties 2... er ee ee ee cee ee eee 7
8 Capital gain net income (attach Schedule D (Form 1120)) ....... BeBe ee eee ee 8
9 Net gain or (loss) from Form 4797, Part Il, line 17 (attach Form 4797)... ...- aime te tet ee eee 9
10 Other income (see instructions - attach statement) 2.0.1 ee ee te es Statement .#1. 10 .10,012
11 Totalincome. Addlines 3through 10... - 2... ee ee et et tte ee >» | 14 423,929
12 Compensation of officers (see instructions - attach Form 1125-E) ........- reece ee eee mh | 2
-~| 13 Salaries and wages (less employmentcredis) 2... wee ee ew te et ee ee 13 165,638
Bi 44 Repairs and maintenance... 6 wk ee ee ee ee 14 2,418
Bas Baddebts ......-.. OMB eee ue ee ge eee 15
B46 Rents . 1.2... ee eee pee ee Bee oO ee og See eee eee he Be 16 16,980
5 [12 TexesandlicomseS 66k ce ee ee tw ee wee ete ee oe WKS Tax/bic,.. 17 15,654
fi - 48 Interest(see instructions) ........ vie Me we ee ew ens ee et ven ete 18 15,395
S| 4 Charitable contributions... ce eee eee tt ett eee eee | AD
g 26 Depreciation from Form 4562 not claimed on Form 1125-A or elsewhere on ratum (attach Form 4562)... .. 20 25,815
=| 21 Depltin .......-.4- een pee eee eee ees ees a ale ee ee ee 2
S| a2” Adertisng 2.2... Lecce ec eee eee e eee cn eeeeesereececy | 2 31, 904
g 23 Pension, profit-sharing, etc. plAnS we ee ee ea 23
‘B | 24° Employee benefit programs .....- bee eens eee ee ee eta 2 27,643
g Reserved forfutureuse ...... ee Wie Ree rahe Be FeO. fae ee eee eee ee | BS Aim
26 Other deductions (attach statement) 2... ce ee ee et ee ee Statement. a5. 26 152,107
a ‘27~—s Total deductions. Add lines 12 through 26 ....... eee meee eee ee » 27 453,754
@ | 28° Taxable income before net operating loss deduction and special deductions. Subtract line 27 fromline 11. . 28 (29,825)
3 29a Net operating loss deduction (see instructions) ......... cee ete eae 29a
3 b.. Special deductions (Schedule C, line24) 2.2... . eee eee see eee vas 29b
a c Addlines29aand29b.......,.... one on ge ee seers e eee eee | BC
' | 30 Saxable income. Subtract line 29c from line 28, See instructions. 2... ee oe 30 (29,825)
“ | 31 -Rotaltax (Schedule J, Parti,line11) 2.0... eee ee ee ee ee De ee eee 31 0
{ 32 - Reserved forfutususe ........-. cee eee eee wee eee eee 32
a 33 Total payments and cradits (Schedule J, Part III, line 23) bee eee ee ee ee eee 33
4 34 Estimatet#tdipenalty. See instruclions. Check if Form 2220s attached .......... weueee » EJ | 34
a* 35 AmountSwesef line 33 is smaller than the total of lines 31 and 34, enter amount owed . eee ae 35
go | 36 ‘OVerpaiiveiily Hine 33 is larger than the total of lines 31 and 34, enter amount overpald . enews 36
= 3 EAter aifiount froitline 36 you want: Credited to 2022 estimated tax > Refunded...» | 37
top -[1 Under @enaiigs of perjury, | deglare that | have Ined this retum, g schedules and statements, and to the best of my knowledge and bellef, It Is true, correct,
si gn’ jg and ¢ complete, Declaration 0 of preparer (other than taxpayer) ts based on afl Information of which preparer has any knowledge.
Heres Aiebay 8 Dobbs | > President Sneed ae
EdD Seranleot amcor oe Tide Sea Instructions. fr] Yes fc] No |
a Hh & . ‘PRAT ype breparer’s name Preparers signature Date Check [] i | PTIN
Paid " }#6resdCA Janssen, EA Teresa A Janssen, EBA 12-13-2022 tremployed | POL304537
Prepdier |‘ritsnaé: > Symphony Business Services, LUC Firm's EIN 4553
Use Of ly | Fins ediress'* 2620 Regatta Dr Ste 102 Phona no,
pit " Las Vegas NV 89128 (702) 655-5535
Ee Fapework Re Réduction Act Notice, see separate Instructions. Form 1120 (2021)
ile
Case 23-10399-nmc Doci1 Entered 02/03/23 14:22:19

Formic 120 (2024). = @rand Canyon Destinations LLC

[Schedule ¢ ||: Dividends, Inclusions, and Special Deductions (see

(a) Dividends and

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{b) %

(c) Special deductions

:- 1, ‘Instructions) inclusions (2) x ()
D vidends, from less -than-20% -owned domestic corporations (other than debt-financed
: 50
65
See
instructions
23.3
26.7
50
65
: 3 “a Dividends from: holy owned foreign subsidiaries ©... 6 2 eee ee ee 100
5: Subtotal. Add lines 1 through 8. See instructions for limitations. . 2... ..2 025 - inatructions
10... Dividends from domestic corporations recaived by a small business invastment
' _ gompany operating under the Small Business Investment Actof 1958... 2... + 2 eee 100
11 Bividetis from affiliated group members. 6. ee ee ee 5.3m .---5- | 100
12 Dividends fromcertainFSCs ...... Se ne ee ew ee 100
13 - .Foraign:source portion of dividends received from a specified 10%-owned foreign
corporation, {excluding hybrid dividends) (see instuctions) .. 2... eee ees 100
14 — Dividénds froriforeigh corporations not Included on line 3, 6, 7, 8, 11, 12, 0r 13
(iholuding any hybrid dividends) 2... 2... 2 ee ees See te tee eee
15 Reserved forfutueuse oe ee ee ete tes
1@a “Subpart F inclusions derived from the sale by a controlled foreign corporation (CFC) of
the stock of'a lowertier foreign corporation treated as a dividend (attach Form(s) 5471)
(See thsrictions) ee ee eee 100
b Subpart F inclusions derived from hybrid dividends of tiered corporations (attach Form(s) Mes
8471) (séeinstudidns)- 6. ee ee eee ee ees
c Other inclusions from CFCs under subpart F not included on line 16a, 16b, or 17 (attach
-Fermn(s)'5471) (seeristuctions) we es
1% — Global Intangible Eow+ Taxed Income (GILTI) (attach Form(s) 5471 and Form gg992)....
18  Gioss-up'for foreigirtaxes deemed pald. 6... ee ee eee eee
19 DISC and form DISC dividends not included online 1, 2,or3. 6. 6. eee _
20 Otherdiidends bo. ee te ee ee et eee tee eee
21 Badiiction for dividends pald on Gertain preferred stock of public utilities... 2... 21.
22 Section 250 deduftioni (attach Form 8993)... 2. ees e ees Lea .
23 Fotal: dividends arid Iriclusions. Add column (a), lines 9 through 20. Enter here and on
page 1 MWe d ele ee eee ee ees
Total: special deductions, Add column (c), lines 9 through 22. Enter here and on page 1, line 29b . . - . ..... -
cea Sg ae ‘ Form 1120 (2021)
{hone
oar +e 3 oqe

ry
&3

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: 20 (2 “ grand “Canyon Destinations LLC

aren |. Tax Computation and Payment (see instructions)

Part 1- Tax Computation

4+
5

d
e
f
9
* 40
1

: Recaptire of low-income housing credit (attach Form BB). we ee > * 9b

Form BOOT) oe ee ee ee eee eee see eee ewes 9c
r Interest ‘due under the look-back method - income forecast method (attach Form 8866) . . Sd

Check if ‘the corporation is a member of a controlled group (attach Schedule O (Form 1120)). Sea instructions => 0

Income tax. Seeinstuctions i:.. . wer ee ee ee ee eee ee Be ce ww we
Base érosion minimum tax amount (attach Form BOI) ee ee ee bene eee ewe wee ee
‘Add:lines 2 and 3 eee ree be we ee ee ee ye ee es
‘Foreign tax orédit (attach Form #418) wee ee eee ees
Credit from Form 8834 (see instructions) ss 3. ey eee eee
Gefiaral business. credit (attach: 'Form BB0D) 2 ee ee ee ee es
Credit for prior year minimum tax (attach Form 8827)... ee ee es +E « Sd
Borid credits fiom Form 8912 ...-.-50088 eee ee te ie te ee a 5e
Total. credits, “Add lines 5a through 5e. 6. ee ee et ee eee ets ak
‘Subtract line 6 fromline4 . ow ee es weenie

Personal holding company tax (attach Schedule PH (Form 1120)... eee ee es = . i -ew. a: « - 8 G
Recapture of investment credit {attach Form 4255) . 6-0 ee ee ee es Sa

w

.
°

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.

.

~

So

intarest due under the look-back method - completed fong-term contracts (attach

Alternative tax on qualifying shipping activities (attach Form 6902)... ....--65- 96
Interestitax’ dua under Section 453A(c) and/or Section 4S3(I) ww ee ee ee of
Other (see instructions - attach statement) ©. ee ee ee ee es 9g
Total:‘Add lines Sa through 9g. 6. ee es 10
Total tax. Add linés 7,.8, and 10. Enter here and on page 1, line Stow ee ee ee ee et 11 0

-Part II -Regerved For Future Use

“12

Regarved forfutu use oe ee ee et a. vee eae | 12 |

Part Ill -Payments afd Refundable Credits

13
14
45
16
17
18
19
20

2020 overpaythentéredied to2021 ..... Doe ete etgle MMR ae rae ee tee swele ae Bees 13

Forti 2439, 29828 WO ce ee eet te eee nee 20a:

2021 estimated ta paymerits ...... Ce ee belle edIM yea eee ee ee ew eee ween .. | 44

2021 refund applied for on Form 4466 6 ee eet eee 15 | )

Coffibine lines-13,44, and 45 ee eee se wee ewe et ee ee Eek ee 16
Tax deposited wit'Form 7004... ..... 00056 See ele ne Bee ee ee ee aie ewe ee 17
Withivolding (see igtuctions) 6. ee eee eee tees 18
Total pdymofits?Add lines 16, 17, and 18... ee eee eee eae 119
Refundable credits-frort? *

For 4136 . TEER EB Be we eee ee ee 20b
Regerved for futalé Mise ee ees aa eee er tee aan 20c
Other [attach statdrsgi be Instructions) 2... es 20d
Total sfedits. Add lidy 20a through 20d 2... ee es tee et ee
Re¥ervéd forfuttfe Ube «5... ee eee ec bee eee te ee em MRS Kies

BIB|S |

For 243 .

Tofal payments and'credits. Add lines 19 and 21. Enter here and on page 1, line32.. 4... ..--.---.
teomoliy a! Form 1120 (2021)

UTata park sup cc

Refiecats 2 regs oo

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vey NE Wik
ee eg ‘4?

Form 1120 (2021) “ @rand Canyon Destinations LLC 4082 Page 4
[Schedula K | Other Information (see instructions)
4. Check accounting method: a {k] Cash b LJ] Accrual ¢ [_] Other (specify) > Yos| No

2, See'the instructions and enter the:
‘a Business activity code no.” » 561500
b Business activity >, Travel and Tour
_‘¢ Productorservice >; Service
3 Is the corporation a subsidiary in an affiliated group or a parantsubsidiary controlled group? © «eee ee ee eee x
if "Yes," enter name and EIN of the parent corporation >

:- 4 Attheend of the tax year: :

a Did'any.foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or taexerrpt
orgarization own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of the
corporation's stock entitled to vote? If "Yes," complete Part | of Schedule G (Form 1120) (attach Schedule G) . vase wens x

b Did any Individual or estate own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all
classes.of the corporation's stock entitled to vote? If "Yes," complete Part II of Schedule G (Form 1120) (attach Schedule G). . . . x

5 At the end of the tax year, did the corporation:
a* Own directly 20% or more, oF own, directly or indirectly, 50% or more of the total voting power of all classes of stock entitled to vote of

any foreign: or domestic corporation not included on Form 851, Affiliations Schedule? For rules of constructive ownership, see instructions... . . . xX
Tt "Yes," “coinplete () through (iv). below.
(tH) Employer qi) Country of (iv) Percentage
(i) Name of Corporation Identification Number Incorporation Owned in Voting
| {if any) Stock

b Own directly.an Interest of 20% or more, or own, directly or Indirectly, an interest of 50% or more in any foreign or domestic partnership
“{including an entity treated as‘a partnership) or In the beneficial interest of a trust? For rules of constructive ownership, see instuctions .. 2. a wae x

if"Yes," ‘complete (i) through (iv) below. |

” Ql) Employar (Ill) Country of Gv) Maximum
; {, Name of Entity Identification Number Organization Percentage Owned In
pus (any) Profit, Loss, or Capita!
4272 | vs 100

Anthony Debbs

lets

6 “During this tax year, did the eorpotption pay dividends (other than stock dividends and distributions in exchange for stock) in
. excess of the corpotation’s, current and accumulated earnings and profits? See sections 301 and 316... 2.1 6 ee eee eee x
lt “Yes,” file Form 5452, Corporate Report of Nondividend Distributions. See the instructions for Form §452.,
if this isi aconsolidated. relun, answer here for the parent corporation and on Form 851 for each subsidiary.
7 At any time during the tax year, did one foreign person own, directly or indirectly, at least 25% of the total voting power of all

- glasses, of the corporation's stock entitled to vote or at least 25% of the total value of all classes of the corporation's stock?. . . . . . x
For rules of attribution, see section 318. If "Yes," enter:
.. a). Percentage owned. — . and (b) Owner's country »
‘{c) The corporation'thay’ have to file Form 5472, Information Return of a 25% Foreign-Owned U.S. Corporation or a Foreign
‘ Corporation Ehgayetfin: ‘a U.S, Trade or Business. Enter the number of Forms 5472 attached >» 0
8. Check this Box'if the:ctitporation issued publicly offerad debt instruments with original Issue discount. 66 6 ew ee ee P Oj

If checked, the corporation may have to file Form 8281, Information Retum for Publicly Offered Original Issue Discount Instruments.
9 Enter the amount of tax-exempt interest received or accrued during the tax year > §
40 Enter the number of shareholders at the end of the tax year {if 100 or fewer) > t
44 the orpotatior’ has an NOL for the tax year and is electing to forego the carryback period, check here (see instructions) . >
If the corporation is filing'a consolidated retum, the staternent required by Regulations section 1.1502-21(b)(3) must be attached ;
_or the: election will not be, valid.
12 Enter the available NOL carryovar from prior tax years (do not reduce it by any deduction reported on

POA INO PR) oe nae ees Sls Dele ee «6 ae eke see eee ee BS 626,911
EEA | Form 1120 (2021)

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ert 190 (2021) 7" GBana Canyon Destinations LLC ‘4082 Page 5
Peenaduiik | :. Other Information (continued from page 4)

: “1 “Ara. ‘the corporation's" {otal receipts (page 1, line 1a, plus lines 4 through 10) for the tax year and its total assets at the end of the Yes | No

, “tax yeat léss:than’ $250,000? Lee eee ee ee eee ba eee tee tee ete eee ee ne 8G x

If "Yes! the corporatignis f fiat required to complete Schedules L, M-1, and M-2. Instead, enter the total amount of cash

‘distributions and the Book Valle of property distributions (other than cash) made during the tax year >» $

: Is the corporation reqaired Schedule UTP (Form 1120), Uncertain Tax Position Statement? See instuctions . 2... | x

if "Yes" compisté andhatiae KSchedule UTP.

7

i. . 5.8 x
b corparatioh file Tequired Form(s) 10997, 0 6 we ee ee es ~.. sen x
yo ie corporation hava an 80%-or-more change In ownerstin, including a change due to redemption of its

to-this tax year, but before the filing of this retum, did tha corporation dispose of mora than 65% (by value)
slo, non-taxable, or tax deferred transaction?.... 2.2.2... Ce ee es . x

2 Did the corporation receive assets in a section 351 transfer in which any of the transferred assets had a fair market basis or fair
market value of more than $4 millon? 2. ee ee tenes tee eee Lee veo | |
419 During! the corporation's tax year, did the corporation make any payments that would require It to file Forms 1042 and 1042-8 i
under chapter 3 {sections 1441 through 1464) or chapter 4 (sections 1471 through 1474) of the Code? ... . bee ee eae x
20° Is thé corporation operating onacoaperative basis? 2... ee ee ee we ee ew ee ora x
"21? ‘Diiting*thg tax year, did thd corporation pay or accrue any interest or royalty for which the deducton Is not allowed under section
267A? Seainstuctions ... ee ee ee ee eee De ee ee x

if "Yes," enter the total amount of the disallowed deductions > §
22 Does the corpdration have gross raceipts of at least $500 million in any of the 3 preceding tax years? (See sections 59A(e)(2)
and (BY PL ee ee eee Se eee ee ee ee cee eee eee te x
if "Yés," complete and attach Form 3991.
33 Did the éérparation have an election under section 163()} for any real property trade or business or any farming business in effect
duting thé fax year? Seginsbuclions 2. ee tees Se ee eee eae x
24° Doss the cérpération satisly one or more of the following conditions? Seeinstuctions. 6... ee x
. @ The corporation owns a pass-through entity with current, or prior year carryover, excess business interest expense.
“bh The:corporation's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years preceding the
current tax‘year are more than $26 million and the corporation has business interast expense.
“¢ The-corporation is a tax shelter and the corporation has business interest expense.
‘If ¥es," éhtnplete and attach Form 8990.
25. Js the cofpération attaching Form 6996 to certify as a Qualified Opportunity Fund?. . . . . A-5S- =: - pees E+ eB a- x
‘If "¥es,“eriter armount from Form 8996, line15.........% $ 0
26° Since Daédémber 22,2017, did a foreign corporation directly or indirectly acquire substantially all of the properties held directly or
indivactiy-By the Corporation, and was the ownership percentage (by vote or value) for purposes of section 7874 greater than
50% (fe ‘éXaniple, the stiareholders held more than 50% of the stock of the foreign corporation)? If “Yes,” list the ownership
percentage’ “by vote and by value. Seeinsiructions .........- yes © + peices -cetee- | - A: - Gea: oe x

Paréeniaga:. By Vote. -- By Value |
ey my Form 1420 (2021)

Te ret

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Pees

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wr dg a tay: st

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Form:1120 (2021). |: °° Grand Canyon Destinations LLC 4082 Page 6
[Sc hedule L Balance Sheets per Books Beginning of tax ear tnd of tax year .
(a) (b) (c) (9)
(3,759), 23,550
\ } i )
3
4°
5
6: Btatement #6 30,481 30,481
7 : 267,751 282,002
8
9 “Other Investments {attach statement) .....-.
10a Bulldings and other depreciable assets ....... 232,971 232,971
b .Léss accumulated depreciation ...... oe 125,196 ) 107,775 | 151,011 ) 81,960
11a Depltablaassets 2... 2.20.2. ..005-
b-Less accumulated depletion .........00-. ) ( )
12 Land (netof any amortization) 2.6... 0.4,
43a" Intangible‘assets (amortizable only)... 1...
b’ Less acgumulated’amortization .......... K ) )
14 Other assets (atlach statement)... 2... 20. Btatement #10 (600) (600)
15 Totaasssts ... 2... 0.2. et te ee 401,648 417,793
Ciabllities and Shareholders' Equity |
46 Accourits payable’ . 2... . 1. eee eee
17  Mortgagés, riotes, bonds payable in jess than 1 year ,
18 Other current ilabillties (attach statement) ..... Btatement #11 264,239 245,660
49 Loans from’Shareholders 2. 2.
20 Mortgages, riotes, bonds payable In 1 year or more ,
21 Otter liabilitigs (attach statement) ........ Btatement #12 519,029 490,201
22 Capital Stock: © a’ Preferred stock .. 2... 5
wes b Common stock ....-...
23 Additional pald-in capital 2.2.2... 95,425 95,425
24 _ Relained‘earnings-Appropriated {attach statement), , . ,
25 ‘Refdinéd edirnings-Unappropriated ........ (477,045) (413,493)
26 Adjastments {o shareholders’ equity (attach statement)
27 Lass costoftreasuty Stock... 2... 0 ee K )
28 | Tothi liabilities and shareholders’ equity .... 401,648 417,793
[Schedule M-1 | ° Reconciliation of Income (Loss) per Books With Income per Return
‘33.1.7 "|" Note: The corporation maj be required to file Schedule M-3. See instructions.
41 Net income (08s) perbooks .........5- 63.552 | 7 Income recorded on books this year
2 Feddratindome tax per books... 2... 2.25. not Included on this ratum (itemize):
3 Exéess of capital losses over capital gains Tax-exempt interest $
4 leche. subject ta tax‘not recorded on books Statement #17 93,377 :
tris! year ‘(itmize)"” Wy 93,377
Corby tp og: 8 Deductions on this refum not charged
5 Spaax iécordéd offbooks this year not against book income this year (itemize):
GadlickeU chi this Ptui'(Herrize): ) a Depreciation. .... 5
a Bopreciation AU PIE. . g b Charitable contributions
b GhéfiGatle Contributions ?.°9 ..
¢c Travel and entertainritetit Wh g
fe dtori a <5 wel .
Be giper metic atin rd (att 9 Addines7and8 ........ ' 93,377
6: - Rag Wines 4throagnh- & 1 "63,552 |10 Income (page 4, line 28+line 6 less line 3 (29,825)
\‘s sched ij M-2 “10 Analysis’ of Una appropriated Retained Earnings per Books (Schedule L, Line 25)
Bafanes'atbegintiig OP¥oarn tw ee (477, 045)| 5 Distibutions:s a Cash ......
‘. Ne€iiberie' Vosaxpettidaks’. . 2. 63,552 b Stock .. 2...
5 ote Increases: ‘iferize): i c Property .....
: 6 Other decreases (itemize): ,
o ‘vat 7 AddlinesSand6 ...,.......
4 Aad ries 17 (413,493) | 8 Balance at end of year (line 4 less line 7) | (413,493)

Form 4120 (2021)
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Cost of Goods Sold
Jo Rowe Noeamber 2078) > Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1085. OMB No. 1645-0129
ca Beane. - » Go to www.irs.gov/Farm?1Z5A for the latest Information.
. a Employer identification number
4062
1
2 1,159,444
3
4
5
6 1,159,444
“Cost of goods sold: Subtract line 7 from line 6. Enter hare and on Form 1120, page 1, line 2 or the
ee -. appropriata line of yourtax retum. See instructions we eee 8 1,159,444
. ba” “Check: all methods used for valuing closing Inventory:
() [).cost
‘(iy (]-Lower of cost or market
ef =f 2. Other (Specify method used and attach explanation.) =>
b., “Check: hares ‘was awritedown.of subnormal goods we et ee ee ee ees » 0
g Check: if the LIFO inventory method was adopted this tax year for any goods (if checked, atiach Form 970) wee et te >»
A it ihe LI LIFO inventory method was used for this tax year, entar amount of closing Inventory computed
under LIPO’. « cee bee ee eee eee eee erst eens etestaserestsess | oa |
“@ _AEproperty Is produced or acquired for resale, do the rules of section 263A apply to the enfity? See instuctions =... . LD Yes No
“of: “Was thre any’ ‘change in determining quantities, cost, or valuations between opening and closing inventory? If "Yes,"
attach explanation oo ee ene eet ee ee Ll) ves  &] No
I
fy “
ade ’
é Se
1X.
For Paperwork Reduction Act Notice, see Instructions Form 1125:A (Rev. 11-2018)

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“SCHEDULES: *| * Information on Certain Persons Owning the

‘(Form 1120)". Corporation's Voting Stock

(Rev, December 2011). { > Attach to Form 1120. OMB No. 1545-0423
‘bona Pe ee earaa, a > See Instructions.

Service “>
‘No ae — Employer Identification number (EIN)

ic @rand ‘Canyon .Destinations LLC 4082

[Part!| Certain Entities:Qwning the Corporation's Voting Stock. (Form 1120, Schedule h, wuesuon 4a). Complete
colurnns (i) throtigh (v) below for any foreign or domestic corporation, partnership (including any entity treated
as a partnership), trust, or tax-exempt organization that owns directly 20% or more, or owns, directly or
indirectly, 50% oF fore of the total voting power of all classes of the corporation's stock entitled to vote (see

instructions).

@ Nai 2 a Eally is w een) (I) Type of Entity (¥) Country of Organization (v) Percentage Owned in Voting Stock

Partil| . Certain. Individuals and Estates Owning the Corporation’s Voting Stock. (Form 1120, Schedule K,
, Question 4b). Complete columns (i) through (iv) below for any individual or estate that owns directly 20% or
-miore,.or owns, directly or indirectly, 50% or more of the total voting power of all classes of the corporation's

stock entitled to vote (see instructions).

(ill) Country of
tae weep ‘ (il) Identifying Number Citi 7 (lv) Percentage Owned
: (i) Name of Individual or Estate (if any) Daan in Voting Stack
Anthony & Dobbs 4272 us 100
jel
- rT
For Paperwork’Reduetion Act Notice, Schedule G (Form 1120) (Rev. 12-2011)

see the Instructions for Form 1120.
EEA : - .
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Depreciation and Amortization
(Including Information on Listed Property)

“pa 4562

Form;

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OMB No, 1545-0172

2021

Op eave ofthe seu * > Attach to your tax retum. Attachment
Betvce | > Go to www.irs.gov/Form4562 for instructions and the latest Information. Sequence No. 179
Name(a} shown'on, return Business or activity to which this form relates IdentHying number
iggand Canyon ‘Destinat hone LLC FORM 1120 ‘4062

Part! | Election To Expense Certain Property Under Section 179

“?-. Note! Ifyou have any listed property, complete Part V before you ‘conn te Parti.
oA Maximum’ amount (see-instructions) .. 2.6.6. ee eee wee ene ees sees [1
2... Total cost of section 179 property placed in service (see etroctions)) teen ene ees sem. 2
3 Threshold cost: ‘of section 179 property before reduction in limitation (see instructions) ......+..-. 3
-4 : Reduction in, limitation: Subtract line 3 from line 2. If zero orless,enter-O- 6... eee ee ee eee 4
5: Dollar. lititation fot tax yéat, Subtract line 4 from line 1. If zero or less, enter -0-. If maitied filing
separately, $00 instructions: Hee ee ea ee ee eee eee eee ee et 5
‘ * (ay Biseription of property {b) Cost (business use only) (c) Elected cost
7 Listed property. Enter the amount from Jine 29) 6 es [7
8 Total alected cost of section 179 property. Add amounts in column (¢), lines6and7 ..... te 8
9 "Tentative deduction. Enter the smaller of line SorlineB . 6... ee ee ee ee ee ee . 9
0 ‘Carryover Of disallowed deduction from line 13 of your 2020 Form4562 2... 6... eee ee ee es 10
1 41 Business,j income limitation. Enter the srnaller of business income (not less than zero) or line 5. See instructions . . . 11
“42 “Sactiont79 &xpense deduction. Add lines 9 and 10, but don't enter more than line 11 pee ye 12.
“43 Carryover of ‘disallowed deduction to 2022. Add lines 9 and 10,lessline12 > | 43-|
Note: ‘Don't use:Part (l'or Part It below for listed property. Instead, use Part Vv.
[Part i | Special Depreciation Allowance and Other Depreciation (Don't include listed property. See instructions.) _
4 Special dépreciation allowance for qualified property (other than listed property) placed in service
- duting thé tax year. See instructions. ©... ee ee ee ee ees 14
46 Property‘subject to section 168(f\(1) election. ©. 6... ee ee 15
416 Gther'debraclation (including ACRS) ......-...----.- +--+ eee ees 16
(Part lit] .MACRS Depreciation (Don't include listed property, See instructions.)
Section A
17. . MACRS deduttioris for assets placed in service in tax years beginning before 2021... .. «+. 17 | 15
78 |f.you are electirig to group any assets placed in service during the tax year into one or more general
ines asset. accounts, ghackhere . 0. cee ee eee ee ee te >
: Section B - Assets Placed in Service During 2021 Tax Year Using the General Depreciation System
Dg “TIb) Month and yea} (c) Basis for depreciation
(a) Giza ‘of, property., '. placed.in (business/investment use (9) Recovery {e) Convention (4) Method {g) Depreciation deduction
i service on|y-see instructions) period
48a. ‘Geyer’ property | _
“th ‘B-yéar'sroperty “])
Je ¢7:year property “|.
‘td <40s)bar propéity 2b
se ‘ #52y Gar propeity "(aC eal
nf 20-year property. "| Sf
"g 25-year’ property ‘| 25 yrs SIL
¢h ‘Residentiat rantal|_?! 2¥ 27.5 yrs MM S/L
‘propery 0 tat. 27.5 ts. MM S/L
A "Nonresidential real! 39 yrs. | MM S/L
8 property. 2 QU a MM SiL
‘ti tr ‘Section: G2-Asséts Placed in Service During 2021 Tax Year Using the Alternative Depreciation System
20a.Glassiife. |. SiL
Fb "12-joar: 09 12 yrs. SIL
“fe ‘30-year ” vibages 30 yrs. MM S/L
28 Oger! Sch Sk Be: 40 yrs MM S/L
[Part IV]. Summary. (See ihstttictions. )
21. Listed propelty,, Enter. anjount from line 28 2... .- Roe ee 21 25,800
#.. Total. Add. amourits from line 12, lines 14 through 17, lines 19 and 20 in column a), and line ‘21. Enter
: heres and GH.tHE appropriate lines of your return. Partnerships and S corporations - see instructions 22 25,815
2a For Seets'shaWh above and placed in service during the current year, enter the
« potion bf tie Basis attributable to section 263A costs... .-.---..-- 23
Fox Papartatk Rodin, Act Notice, see separate instructions. Form 4562 (2021)

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@raid canyon Destinations LLC

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Paje 2

have evidence t0 supot ne business/investment use claimed? O Yes |] No | 24b If"Yes," Is the evidence written? —_ [| Yes []'No
“3 ‘ i (c) (8) a
) {d) (H (o) (h)
: Business/ Basis for depreciation
Date placed investmentuse)  ©OSt or other basis pusiness/investment Recovery | _Method/ Depreciation |Elected section 179
in service paioe a (busin = ie on ment) perled | Convention deduction cast
25
in a qualified baalveae use:
E y 2 = 02-2019 | 100.0% 100,679 82,579 5 boo DB-MQ 9,70
12019" Mercedes © )3-16-2020|. 100.0% 51,381 51,381) 5 200 DB-HY 16,100
%
27° Property’used 60% or less ‘in a qualified business use:
i: % S/L-
% SiL-
Cera emeg bepeen 28 Bo % S/L-
28. ‘Add ‘amounts in ue (h), lines 25 through 27. Enter here and on line 21, page 1 28 25,800
See e ee eee eee eee |. 29 |

29. Add. amouitits i in column- th, line 26. Enter here and on line 7, page 1

Section B - Information on Use of Vehicles

ed by a sole proprietor, partner, or other “more than 5% owner," or ralated person. If you provided vehicles

to, rou empby ees, fi first answér fhe! iquestions in Section C to see If you meet an exception to completing this section for those vahicles.

. TE gare (a) (b) (c) (d) (e)
30. Total businessfinvestmentajiles driven during Vehicle 1 Vehicle 2 Vehicle 3 Vehicle 4 Vehicle 5 Vehicle 6
“the year Won't Includd coyfifiiuting miles) -
a Total commuting miles.driven during the year .
32. ‘Total other: ‘personel (néniéommuting)
Liles driven. 2-23.26. ‘
33. ‘Total miles'driven dr the year. Add
"* linesr80 through 32 SER ee .
34, ', Was'the vehicle. avalldbts for personal Yes | No | Yes | No | Yes | No | Yes | No | Yes | No | Yes No
_. ... use. during off-duty hours?.. 2.2...
35. Was the vehicle‘used primarily by a more
.. .. han 5% pwner orralated person? .
36 Is another. vehicle Avaliable for personal use?
be ceeee . Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Aiswer these iquestioné to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
mote than pe ‘owners drtelated. persons. See instructions. .
a Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by Yes | No
"| your: OMPIOVOESPT SI ee ee ee ee eee eee ee ee eee
"38" Do'you rfaintain’awitien policy statement that prohibits personal use of vehicles, except commuting, by your
_ employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners
39 Do'you treat alk nse of'vehitles by employees as personaluse? 2... 2... ee eee
40 Do you provide thorée:than five vehicles to your employees, obtain Information from your employees about the
* . setof the'velii¢les, dnd retain the information received? 2.2... ec ee ee et tees
44. Do you meet the éqdireménts concerning qualified automobile demonstration use? See instructions ......
Note: If y6ur-answer to 37, 38, 39,40, or 44 is “Yes.” don't complete Section B for the covered vehicles.
(Part i —Ainortization “at
+ . > 2 Jw < 7 (b) (B)
: : lt 538 ops = a" amorteatto amount pau sscton aoaied ar Amortization for this year
. - percentage
42 ainorization ‘Of.cdsts that begins during your 2021 tax year (see instructions):
Peavey Wer:
43 Amortization of ‘aia that began before your 2021 tax year... 6... 2.2.55 oe eee 43
A. Se. 44

448 Totali Add ‘atridutité in coltimn (f). See the instructions for where to report

boty git
&

Form 4562 (2021)
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Federal Supporting Statements 2021

Tax ID Number

Jeatinations LLC 4082

varid Canyon Destinations LLC
ow Blvd ste 100-458
a

édedved a Paycheck Protection Program (PPP) loan for this business and is
The: -caxpayer: -is. _ beeating $93,377 as tax-exempt incoma from the forgiveness of

the: Paycheck | Protection Program loan. As of the date this return is being filed, the
Paycheck Rrotection Program loan has been forgiven.

ery PGO1

p Form 1120 - Line 10 - Other Income Statement #1
Dés¢ription Amount
Grant. 10,000
Theerest ‘7 12
Total » __10,012

we

STATMENT.LD

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Federal Supporting Statements

2021

PGOL

Name(s) 86 shown on retum

Grand Canyon Destinations LLC

Tax 1D Number

14082.

Form 1120 - Line 26 - Other Deductions

Description |

Accounting | cost

: Automobile and truck expenses
? Bank: ‘charges

: Commissions ..

: Computer ..

: Consulting -

Equipment. rental/lease
Insurance —

Workers Comp Insurance

_ egal _and. professional
*Meals 100% Timit

Miscellaneous.
Office expense .

"Parking ‘fees and tolls
‘Bayroll prddessing expenses
” Postage/Shipping

Security
Telephone
: Travel
Utilities
‘Merchant Account Fees
Website :

_Reithbursements

total

od

Schedule

“Description:

| ‘pefekred Interest
. Prepaid Expense .

‘Total

Me
+

L - Line 6

Statement #5

Amount
9,543
1,087
2,822
2,377
3,301
6,380
4,949
6,181
2,666

152,107

PGO1
Statement #8

Beg Of Year End Of Year
252 252

30,229 30,229
30,481 30,481

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Federal Supporting Statements

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Tex !D Number

4082

Grand-‘Canyon :Destinations LLC

Schedule L - Line 14

e to. from ‘New Char

Schedule L - Line 18

_Deseription

Navy FCU LOC

Accrued Payroll Liab
Credit Card Payable
NP Fundbox

NP Biz Finance

NP Kabbage. .

Total’

rc

Schedule L - Line 21
te and
. Description,
NB iY Tang”
NE ‘MBFS =~
NE Paypal ~
NP Live Oak: “PPP1
NP MBFS (04583)

NP SBA EIDL
NP fiive Oak PPP2

Total

Statement #10

Beg Of Year End Of Year
(600) (600}

(600) (600)

PGOL
Statement #11

Beg Of Year End Of Year

10,209
102,243 94,487
67,624 72,326
4,716
73,237 73,237
6,210 5,610
264,239 245,660
PGO1

Statement #12

Beg Of Year End Of Year

30,229 30,229
80,501 80,501
80,982 37,621
132,400 39,023
44,917 44,917
150,000 150,000
Sas 107,910
519,029 490,201

aes

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Federal Supporting Statements

2021  PGOo1

Grand Cariyon Destinations LLC

Tax ID Number

4082

Schedule M-1 Line 7
Income recorded on Books

ey “
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Statement #17

Amount
93,377

93,377

STATMENT.LD

